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1    KARL FINGERHOOD (PA Bar No. 63260)
2    DAVIS FORSYTHE
     MATTHEW INDRISANO
3    U.S. Department of Justice
4    Environmental Enforcement Section
     Environment & Natural Resources Division
5
     P.O. Box 7611
6    Washington, D.C. 20044-7611
7
           Tel: 202-5147519
                  303-844-1391
8                 202-514-1398
9          E-mail: karl.fingerhood@usdoj.gov
                  davis.forsythe@usdoj.gov
10                 matthew.indrisano@usdoj.gov
11   Counsel for the United States of America on behalf of its
     Environmental Protection Agency and the United States Coast Guard
12
13                   UNITED STATES BANKRUPTCY COURT
14                    CENTRAL DISTRICT OF CALIFORNIA
                              (Northern Division)
15
16   In re:                         )      Case No. 9:19-BK-11573-MB
                                    )
17
     HVI CAT CANYON, INC.,          )      Chapter 11
18                                  )
19        Debtor.                   )      UNITED STATES’ LIMITED
                                    )      REPLY TO DEBTOR’S STATUS
20                                  )      REPORT
21                                  )
                                    )      Date: September 23, 2019
22
                                    )      Time: 10:00
23                                  )      Place: 2104 Burbank Blvd.,
24
                                    )             Courtroom 303
                                    )             Woodland Hills, CA 91367
25                                  )
26                                  )      Judge: Hon. Martin R. Barash
     _______________________________)
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1          COMES NOW, the United States of America, by and through undersigned
2
     counsel, on behalf of the United States Environmental Protection Agency and the
3
4    United States Coast Guard, and hereby file the following limited response to the
5
     Debtor’s Status Report [Docker No. 202].
6
7
           The Debtor’s Status Report (at ¶¶ 25-26) mentions the Debtor’s Motion to

8    sell its Richmond East Dome Unit pursuant to Section 363(f) [Docket No. 96]. No
9
     Objection or Hearing Date was set for this Motion. The United States has concerns
10
11   with the proposed sale. At the time this case was transferred to this District there
12
     were negotiations ongoing about a proposed briefing schedule for this Motion.
13
14   The United States requests that it be included in any briefing schedule so that its
15   concerns with the proposed sale may either be addressed by the Debtor, or if
16
     necessary, resolved by this Court.
17
18         In addition, out of an abundance of caution, the United States wants to make
19
     this court aware of the agreement by the parties, made on the record before Judge
20
21   Hale that any further Cash-Collateral Order issued in this matter would contain the
22
     following language:
23
24
           “Nothing in this Cash Collateral Order or the Cash Collateral Budget shall

25   permit the Debtor to violate 28 USC 959(b), and nothing in this Cash Collateral
26
     Order or the Cash Collateral Budget shall in any way diminish the obligation of
27
28   any entity, including the Debtor, to comply with environmental laws.”
                                               2
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1          Finally, the United States wishes to advise the Court, and the Court can take
2
     judicial notice, of the pending litigation against the Debtor in the United States
3
4    District Court for the Central District of California [United States of America, et al.
5
     v. HVI Cat Canyon, Inc., Civil No. 11-5097 FMO (SSx) (USDC C.D. California)].
6
7
     Partial Summary Judgment was granted in May 2018, and a bench trial was held

8    on the remaining issues in October 2018. A final ruling in that matter is pending.
9
     On August 26, 2019, the District Court ruled that the bankruptcy automatic stay is
10
11   inapplicable to the pending ruling. A copy of the District Court’s Order is
12
     attached.
13
14   Date: September 19, 2019
15                                    Respectfully submitted,
16
                                      ___/s/ Karl Fingerhood__________
17
                                      KARL FINGERHOOD
18                                    Senior Counsel
19                                    U.S. Department of Justice
                                      Environmental Enforcement Section
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